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Fifty-Ninth Report
of the Independent Monitor
for the Oakland Police Department

Introduction
This is our fifty-ninth status report on the Negotiated Settlement Agreement (NSA) in the case of
Delphine Allen, et al., vs. City of Oakland, et al., in the United States District Court for the
Northern District of California under the direction of Judge William H. Orrick. I was appointed
in 2010 to oversee the monitoring process of the Oakland Police Department (OPD) that began
in 2003.
This report covers our site visit of November 27-28, 2018; and describes our recent assessments
of NSA Tasks 20, 41, and 45. As we have noted previously, following the Court’s Order of May
21, 2015, in our monthly reports, we devote special attention to the most problematic component
parts of the Tasks that are not yet in full or sustained compliance, and discuss the most current
information regarding the Department’s progress with the NSA and its efforts at making the
reforms sustainable.


Increasing Technical Assistance
Each month, our Team conducts a visit to Oakland that includes both compliance assessments
and technical assistance. During our visits, we meet with Department and City officials; observe
Department meetings and technical demonstrations; review Departmental policies; conduct
interviews and make observations in the field; and analyze OPD documents and files, including
misconduct investigations, use of force reports, crime and arrest reports, Stop Data Forms, and
other documentation. We also provide technical assistance in additional areas, especially those
that relate to the remaining non-compliant Tasks or areas identified by the Department.
Within the last several months, we have provided technical assistance to OPD officials in the
areas of IAD investigation quality (Task 5); stop data and related issues (Task 34); risk
management and the ongoing maintenance issues and development of the Performance
Reporting Information Metrics Environment (PRIME) systems (Task 41); and several
Department policies and procedures, including policies related to PRIME, officer discipline,
probationers and parolees, handcuffing, and the use of electronic control weapons.
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Building Internal Capacity at OPD
Also per the May 21, 2015 Court Order, we continue to work closely with the Office of Inspector
General’s (OIG) lieutenant and staff to identify areas that it should audit or review – and to help
design approaches to these audits that are not cumbersome, so as to ensure sustainability. We
review OIG’s quarterly progress reports, which are a valuable resource and assist us in assessing
compliance with NSA requirements. OIG published its most recent progress report (covering the
first two quarters of 2018) in early October.




                                   Focused Task Assessments


Task 20: Span of Control
Requirements:
On or before August 14, 2003, OPD shall develop and implement a policy to ensure appropriate
supervision of its Area Command Field Teams. The policy shall provide that:
        1.       Under normal conditions, OPD shall assign one primary sergeant to each Area
                 Command Field Team, and, in general, (with certain exceptions) that supervisor’s
                 span of control shall not exceed eight (8) members.
        2.       During day-to-day operations, in the absence of the primary supervisor (e.g., due
                 to sickness, vacation, compensatory time off, schools, and other leaves), the
                 appropriate Area Commander shall determine, based on Department policy and
                 operational needs, whether or not to backfill for the absence of the sergeant on
                 leave.
        3.       If a special operation, (e.g., Beat Feet, Special Traffic Offenders Program
                 (STOP), etc.) requires more than eight (8) members, the appropriate Area
                 Commander shall determine the reasonable span of control for the supervisor.
        4.       If long-term backfill requires the loan or transfer of a supervisor from another
                 unit, the Chief of Police and/or the Deputy Chief of Police shall make that
                 decision.
(Negotiated Settlement Agreement IV. C.)
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Relevant Policy:
Three Departmental policies incorporate the requirements of Task 20: Departmental General
Order A-19, Supervisory Span of Control, issued on July 26, 2006; Departmental General Order
D-13, Assignment to Acting Higher Rank or Classification, issued on June 17, 1999; and
Departmental General Order D-13.1, Assignment to Acting Sergeant of Police, issued on May 14,
2014. (The publication of DGO D-13.1 cancelled Special Order 8435, which previously
governed the selection process of acting sergeants.)


Commentary:
To assess these requirements for this report, we reviewed spreadsheets prepared by the
Department for the months of July, August, and September 2018 that, by date, note which type
of sergeant supervised each applicable squad – a primary sergeant, relief sergeant, acting
sergeant, other sergeant (one working overtime), or none. (The Department refers to
unsupervised squads as “open.”) We calculated per squad the compliance percentages for this
subtask during this time period. Each of the 49 applicable squads were in compliance – that is,
all applicable squads during this time period were supervised by either a primary, relief, or
other/overtime sergeant for at least 85% of their working shifts. We also found that none of the
applicable squads exceeded the required 1:8 supervisor to officer ratio at least 90% of their
working shifts.
OPD continues to be in compliance with these requirements. We are encouraged that the
Department has institutionalized the sound practices of tracking how each squad is supervised
each day; planning, when possible, for expected absences; and thoughtfully considering how to
fill in for personnel who are absent unexpectedly.
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Task 41: Use of Personnel Assessment System (PAS) and Risk
Management
Requirements:
Within 375 days from the effective date of this Agreement, OPD shall develop a policy for use of
the system, including supervision and audit of the performance of specific members, employees,
supervisors, managers, and OPD units, as well as OPD as a whole.
The policy shall include the following elements:
        1.       The Chief of Police shall designate a PAS Administration Unit. The PAS
                 Administration Unit shall be responsible for administering the PAS policy and, no
                 less frequently than quarterly, shall notify, in writing, the appropriate Deputy
                 Chief/Director and the responsible commander/manager of an identified
                 member/employee who meets the PAS criteria. PAS is to be electronically
                 maintained by the City Information Technology Department.
        2.       The Department shall retain all PAS data for at least five (5) years.
        3.       The Monitor, Inspector General and Compliance Coordinator shall have full
                 access to PAS to the extent necessary for the performance of their duties under
                 this Agreement and consistent with Section XIII, paragraph K, and Section XIV of
                 this Agreement.
        4.       PAS, the PAS data, and reports are confidential and not public information.
        5.       On a quarterly basis, commanders/managers shall review and analyze all
                 relevant PAS information concerning personnel under their command, to detect
                 any pattern or series of incidents which may indicate that a member/employee,
                 supervisor, or group of members/employees under his/her supervision may be
                 engaging in at-risk behavior. The policy shall define specific criteria for
                 determining when a member/employee or group of members/employees may be
                 engaging in at-risk behavior.
        6.       Notwithstanding any other provisions of the PAS policy to be developed, the
                 Department shall develop policy defining peer group comparison and
                 methodology in consultation with Plaintiffs’ Counsel and the IMT. The policy
                 shall include, at a minimum, a requirement that any member/employee who is
                 identified using a peer group comparison methodology for complaints received
                 during a 30-month period, or any member who is identified using a peer group
                 comparison methodology for Penal Code §§69, 148 and 243(b)(c) arrests within
                 a 30-month period, shall be identified as a subject for PAS intervention review.
                 For the purposes of these two criteria, a single incident shall be counted as “one”
                 even if there are multiple complaints arising from the incident or combined with
                 an arrest for Penal Code §§69, 148 or 243(b)(c).
        7.       When review and analysis of the PAS threshold report data indicate that a
                 member/employee may be engaging in at-risk behavior, the member/employee’s
                 immediate supervisor shall conduct a more intensive review of the
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                 member/employee’s performance and personnel history and prepare a PAS
                 Activity Review and Report. Members/employees recommended for intervention
                 shall be required to attend a documented, non-disciplinary PAS intervention
                 meeting with their designated commander/manager and supervisor. The purpose
                 of this meeting shall be to review the member/employee’s performance and
                 discuss the issues and recommended intervention strategies. The
                 member/employee shall be dismissed from the meeting, and the designated
                 commander/manager and the member/employee’s immediate supervisor shall
                 remain and discuss the situation and the member/employee’s response. The
                 primary responsibility for any intervention strategies shall be placed upon the
                 supervisor. Intervention strategies may include additional training,
                 reassignment, additional supervision, coaching or personal counseling. The
                 performance of members/ employees subject to PAS review shall be monitored by
                 their designated commander/manager for the specified period of time following
                 the initial meeting, unless released early or extended (as outlined in Section VII,
                 paragraph B (8)).
        8.       Members/employees who meet the PAS threshold specified in Section VII,
                 paragraph B (6) shall be subject to one of the following options: no action,
                 supervisory monitoring, or PAS intervention. Each of these options shall be
                 approved by the chain-of-command, up to the Deputy Chief/Director and/or the
                 PAS Activity Review Panel.
                 Members/employees recommended for supervisory monitoring shall be monitored
                 for a minimum of three (3) months and include two (2) documented, mandatory
                 follow-up meetings with the member/employee’s immediate supervisor. The first
                 at the end of one (1) month and the second at the end of three (3) months.
                 Members/employees recommended for PAS intervention shall be monitored for a
                 minimum of 12 months and include two (2) documented, mandatory follow-up
                 meetings with the member/employee’s immediate supervisor and designated
                 commander/manager: The first at three (3) months and the second at one (1)
                 year. Member/employees subject to PAS intervention for minor, easily
                 correctable performance deficiencies may be dismissed from the jurisdiction of
                 PAS upon the written approval of the member/employee’s responsible Deputy
                 Chief, following a recommendation in writing from the member/employee’s
                 immediate supervisor. This may occur at the three (3)-month follow-up meeting
                 or at any time thereafter, as justified by reviews of the member/employee’s
                 performance. When a member/employee is not discharged from PAS jurisdiction
                 at the one (1)-year follow-up meeting, PAS jurisdiction shall be extended, in
                 writing, for a specific period in three (3)-month increments at the discretion of the
                 member/employee’s responsible Deputy Chief. When PAS jurisdiction is extended
                 beyond the minimum one (1)-year review period, additional review meetings
                 involving the member/employee, the member/ employee’s designated
                 commander/manager and immediate supervisor, shall take place no less
                 frequently than every three (3) months.
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        9.       On a quarterly basis, Division/appropriate Area Commanders and managers
                 shall review and analyze relevant data in PAS about subordinate commanders
                 and/or managers and supervisors regarding their ability to adhere to policy and
                 address at-risk behavior. All Division/appropriate Area Commanders and
                 managers shall conduct quarterly meetings with their supervisory staff for the
                 purpose of assessing and sharing information about the state of the unit and
                 identifying potential or actual performance problems within the unit. These
                 meetings shall be scheduled to follow-up on supervisors’ assessments of their
                 subordinates’ for PAS intervention. These meetings shall consider all relevant
                 PAS data, potential patterns of at-risk behavior, and recommended intervention
                 strategies since the last meeting. Also considered shall be patterns involving use
                 of force, sick leave, line-of-duty injuries, narcotics-related possessory offenses,
                 and vehicle collisions that are out of the norm among either personnel in the unit
                 or among the unit’s subunits. Division/appropriate Area Commanders and
                 managers shall ensure that minutes of the meetings are taken and retained for a
                 period of five (5) years. Commanders/managers shall take appropriate action on
                 identified patterns of at-risk behavior and/or misconduct.
        10.      Division/appropriate Area Commanders and managers shall meet at least
                 annually with his/her Deputy Chief/Director and the IAD Commander to discuss
                 the state of their commands and any exceptional performance, potential or actual
                 performance problems or other potential patterns of at-risk behavior within the
                 unit. Division/appropriate Area Commanders and managers shall be responsible
                 for developing and documenting plans to ensure the managerial and supervisory
                 accountability of their units, and for addressing any real or potential problems
                 that may be apparent.
        11.      PAS information shall be taken into account for a commendation or award
                 recommendation; promotion, transfer, and special assignment, and in connection
                 with annual performance appraisals. For this specific purpose, the only
                 disciplinary information from PAS that shall be considered are sustained and not
                 sustained complaints completed within the time limits imposed by Government
                 Code Section 3304.
        12.      Intervention strategies implemented as a result of a PAS Activity Review and
                 Report shall be documented in a timely manner.
        13.      Relevant and appropriate PAS information shall be taken into account in
                 connection with determinations of appropriate discipline for sustained
                 misconduct allegations. For this specific purpose, the only disciplinary
                 information from PAS that shall be considered are sustained and not sustained
                 complaints completed within the time limits imposed by Government Code Section
                 3304.
        14.      The member/employee’s designated commander/manager shall schedule a PAS
                 Activity Review meeting to be held no later than 20 days following notification to
                 the Deputy Chief/Director that the member/employee has met a PAS threshold
                 and when intervention is recommended.
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        15.      The PAS policy to be developed shall include a provision that a member/employee
                 making unsatisfactory progress during PAS intervention may be transferred
                 and/or loaned to another supervisor, another assignment or another Division, at
                 the discretion of the Bureau Chief/Director if the transfer is within his/her
                 Bureau. Inter-Bureau transfers shall be approved by the Chief of Police. If a
                 member/employee is transferred because of unsatisfactory progress, that transfer
                 shall be to a position with little or no public contact when there is a nexus
                 between the at-risk behavior and the “no public contact” restriction. Sustained
                 complaints from incidents subsequent to a member/employee’s referral to PAS
                 shall continue to result in corrective measures; however, such corrective
                 measures shall not necessarily result in a member/employee’s exclusion from, or
                 continued inclusion in, PAS. The member/employee’s exclusion or continued
                 inclusion in PAS shall be at the discretion of the Chief of Police or his/her
                 designee and shall be documented.
        16.      In parallel with the PAS program described above, the Department may wish to
                 continue the Early Intervention Review Panel.
        17.      On a semi-annual basis, beginning within 90 days from the effective date of this
                 Agreement, the Chief of Police, the PAS Activity Review Panel, PAS Oversight
                 Committee, and the IAD Commander shall meet with the Monitor to review the
                 operation and progress of the PAS. At these meetings, OPD administrators shall
                 summarize, for the Monitor, the number of members/employees who have been
                 identified for review, pursuant to the PAS policy, and the number of
                 members/employees who have been identified for PAS intervention. The
                 Department administrators shall also provide data summarizing the various
                 intervention strategies that have been utilized as a result of all PAS Activity
                 Review and Reports. The major objectives of each of these semi-annual meetings
                 shall be consideration of whether the PAS policy is adequate with regard to
                 detecting patterns of misconduct or poor performance issues as expeditiously as
                 possible and if PAS reviews are achieving their goals.
        18.      Nothing in this Agreement, and more specifically, no provision of PAS, shall be
                 construed as waiving, abrogating or in any way modifying the Department’s
                 rights with regard to discipline of its members/employees. The Department may
                 choose, at its discretion, to initiate the administrative discipline process, to
                 initiate PAS review or to use both processes concurrently or consecutively.
(Negotiated Settlement Agreement VII. B.)


Relevant Policy:
OPD revised and issued Departmental General Order D-17, Personnel Assessment Program, in
November 2013. Since our last report, the Department has begun to address General Order D-17
as part of Department’s ongoing policy review and revision program. The revised version of the
relevant policy is currently under review.
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Commentary:
OPD and its vendor continue to make progress on the reconstruction of the PRIME database and
the related tools for effective use of the data. The Department and the City’s Information
Technology Department report that principal contractor for the redesign, Sierra-Cedar, is moving
forward on schedule and may finish early, although it currently maintains the planned
completion date of July 2019.
A team from another vendor, Slalom, is constructing data dashboards that will be tailored to
provide relevant data by position and management requirements in the Department. With
participation from the Monitoring Team, the Department recently reviewed the developing
dashboards with Slalom personnel. This review included a document summarizing the agreed-
upon “Dashboard Business Requirements” and the dashboard “wireframes.” That is, the
dashboards were presented in “doodle” form, or hand drawings – suitable for planning but not
yet presenting actual data. During the meeting, we discussed 10 dashboards covering the major
categories of risk-related data, including stop data and arrest data. The data presentations will
eventually support reviews at the Department, by Patrol Area and special unit level; and will
allow drilling down into the data at the squad and individual officer levels. This will increase the
accessibility of valuable data that supports the supervision of officers and the review of data
through the Risk Management Meeting process. The dashboards, however, carry with them new
complexities in the analysis; and therefore, also present significant training concerns. We will
continue to monitor their development.
The presentation also provided an opportunity for a broad discussion of risk management. We
noted to the Department the importance of focusing on the key issues noted in Tasks 40 and 41
of the NSA. Uses of force, complaints, and pursuits are core elements currently guiding the
identification of risk-related behavior and the process of oversight and intervention to address
that behavior. Yet at the same time, the Department’s analysis and review of stop data has
become a central part of the Risk Management Meetings – but it has not been fully integrated
into the Department’s risk management process. The incomplete association of these ideas was
evident in the level of attention given to stop data in the dashboard discussion.
The risk management system operates on a process involving thresholds, which trigger reviews,
and then the consideration of non-punitive responses – including management supervision or
intervention to reduce risk-related behavior. Although OPD’s discussion of stop data has been a
significant part of Risk Management Meetings, it has not been incorporated into the risk
management process. This is not to argue that the same thresholds should exist across all risk
measures. However, this seems to be an opportune time to incorporate stop data into the existing
risk management framework by incorporating it as a risk-related variable in Department policy,
by articulating at least general standards and expectations, and by linking it to the existing review
and intervention process.
These steps would help bring together currently parallel processes that exist even though stop
data is already recognized as relevant to risk, and it is already agreed that the drill-down to the
individual officer level is important. Recognizing kinship across risk categories will only
increase appreciation for the legitimacy of interest in stop-related behavior. It will also build a
practical bridge between Tasks 34 and 41.
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The November Risk Management Meeting employed a process that brings the risk management
of Task 41 and the stop data of Task 34 closer together. At the meeting, OPD personnel
conducted an extensive review of deliverables, followed first by a review of the traditional risk-
related data, and then by consideration of stop data. This order allowed for more seamless drill-
down to officer-level data, and the combination of management responses across these areas of
concern. It is also noteworthy that the Department returned to the production of compressive
summaries of the complaint and use of force measures, including calculating rates based on
numbers of arrest. Monthly tracking of that data over time provides valuable trend analyses for
Department management. Norming stop data the same way would also advance those analyses.




Task 45: Consistency of Discipline Policy
Requirements:
On or before October 6, 2003, OPD shall revise and update its disciplinary policy to ensure that
discipline is imposed in a fair and consistent manner.
        1.       The policy shall describe the circumstances in which disciplinary action is
                 appropriate and those in which Division-level corrective action is appropriate.
        2.       The policy shall establish a centralized system for documenting and tracking all
                 forms of discipline and corrective action, whether imposed centrally or at the
                 Division level.
        3.       All internal investigations which result in a sustained finding shall be submitted to
                 the Discipline Officer for a disciplinary recommendation. The Discipline Officer
                 shall convene a meeting with the Deputy Chief or designee in the affected chain-
                 of-command for a confidential discussion of the misconduct, including the
                 mitigating and aggravating factors and the member/employee’s overall
                 performance.
        4.       The COP may direct the Discipline Officer to prepare a Discipline
                 Recommendation without convening a Discipline Conference.
(Negotiated Settlement Agreement X. B.)


Relevant Policy:
Five Departmental policies incorporate the requirements of Task 45: Departmental General
Order M-03, Complaints Against Department Personnel and Procedures (published December 6,
2005 and revised most recently on August 24, 2013); Training Bulletin V-T.1 and V-T.2,
Internal Investigation Procedure Manual (published July 17, 2008); Internal Affairs Policy and
Procedure Manual (published December 6, 2005); and Training Bulletin V-T, Departmental
Discipline Policy (published March 14, 2014). Several of these policies are currently being
revised.
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Commentary:
Task 45.2 requires that OPD maintain a centralized system for documenting and tracking all
OPD forms of discipline and corrective action, whether imposed centrally or at the division level.
To assess Phase 2 compliance with this subtask, we reviewed the 18 cases that contained at least
one sustained finding that were approved in August and September 2018. All (100%) of these
cases and findings contained all of the necessary information available on the spreadsheet
generated by IAD for our review. OPD is in compliance with the requirement that it maintain an
adequate system for documenting and tracking discipline and corrective action.
The NSA also requires that discipline be imposed in a manner that is fair and consistent. To this
end, the Department developed a Discipline Matrix, which was adopted on September 2, 2010
and was in effect until a new Discipline Matrix was approved on March 14, 2014. This
subsequent Matrix applies to violations after that date.
As noted above, we reviewed all 18 cases with sustained findings that were approved between
August 1-September 30, 2018. One case involved the failure to accept or refer a complaint. In
two cases, the subject officers were arrested for Driving Under the Influence (DUI), and both
cases also involved ancillary sustained allegations for other OPD members. One case was
sustained for improper demeanor, and one case was sustained for improper use of force. In
another case, an officer lost an arrestee’s personal property; while in another case, an officer was
sustained for failing to properly store a personally owned firearm. Eleven cases involved
preventable motor vehicle accidents.
In each case, unless otherwise documented in writing, the proposed discipline fell within the
Discipline Matrix that was in effect at the time of the action for which the discipline was
imposed.
During September and October 2018, OPD held two Skelly hearings for IAD cases involving
employees with sustained findings in which discipline of a one-day suspension or greater was
recommended. We reviewed the Skelly reports, and found that they contained adequate
justification for the results documented. One case involved a sustained demeanor allegation.
The proposed penalty of a two-day suspension was reduced to a one-day suspension, with the
concurrence of the Chief of Police. The second case involved falsely reporting as sick to obtain
time off by a civilian employee. The Discipline Matrix identifies the lower end of the discipline
range as a 30-day suspension, but the Skelly Officer recommended a 20-day suspension. The
Chief ultimately negotiated a 10-day suspension, with five days to be served and five days held
in abeyance for two years.
A third Skelly hearing was scheduled, but was not held as the subject officer agreed to the
discipline prior to the scheduled hearing date.
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We reviewed the training records that OPD provided, and confirmed that all Skelly hearing
officers received the approved Skelly Officer Training in January 2016. Additionally, all active
Skelly officers received refresher training on April 26, 2017; and again on December 3 and 10,
2018, on which the Department held a three-hour training on the Skelly process and discipline for
commanders.
OPD did not receive any arbitration decisions during September and October 2018.
OPD remains in partial compliance with Task 45.




Conclusion
Over the last several months, we examined OPD’s significant drop in officers’ use of force. Our
review was prompted by an unexplained reduction of 75% in reported use of force during the
period 2012-2017 – with principal and substantial decreases in the Level 4 category of force.
Working with OPD, we identified a sample of cases, which, based on the circumstances of the
encounter and the language in the associated reports, appeared to indicate that force was used but
not reported. We discussed these cases in detail with OPD during our most recent (January) site
visit. The meeting was productive, and we reached the joint conclusion that OPD’s policies
regarding force and force reporting require adjustments to more clearly indicate when force must
be reported. We note that in all of the cases we reviewed, the force used was appropriate and
justified; and this is a reporting issue – not an issue of inappropriate force being used.
We will discuss this issue further in future monthly status reports. Prior to our next site visit, we
will work with OPD officials to resolve this issue and being the process of modifying the
appropriate policies.




Chief (Ret.) Robert S. Warshaw
Monitor
